                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at KNOXVILLE



 ADRIAN R. BROWN                                    )
                                                    )
               Petitioner,                          )
                                                    )
 v.                                                 )       3:06-cv-148
                                                    )       3:04-cr-130
                                                    )       Jordan
                                                    )
 UNITED STATES OF AMERICA                           )
                                                    )
               Respondent.                          )



                                      MEMORANDUM



        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Adrian R. Brown ("petitioner"). For the following reasons, the § 2255

 motion will be DENIED and this action will be DISMISSED.




 I. Standard of Review


        This court must vacate and set aside petitioner's conviction upon a finding that "there

 has been such a denial or infringement of the constitutional rights of the prisoner as to render

 the judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,

 petitioner "must show a 'fundamental defect which inherently results in a complete


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 miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process."

 United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

 368 U.S. 424, 428 (1968)).

          Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

 District Courts, the court is to determine after a review of the answer and the records of the

 case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

 records of the case show conclusively that petitioner is not entitled to relief under § 2255,

 there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

 1986).




 II.      Factual Background


          Petitioner pleaded guilty to conspiracy to distribute and possession with intent to

 distribute fifteen kilograms or more of cocaine hydrochloride and conspiracy to commit

 money laundering. Petitioner received a mandatory minimum term of imprisonment of life

 as to the drug conspiracy and 240 months as to the money laundering conspiracy, to be

 served concurrently, for a total effective sentence of life imprisonment.

          Petitioner did not appeal his sentence. In support of his original § 2255 motion to

 vacate sentence, as amended, petitioner raises several challenges to the validity of the

 indictment, his plea agreement, and his guilty plea. Petitioner also alleges numerous

 instances of ineffective assistance of counsel and further alleges his right to due process and

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 a jury trial were denied. In a supplement to his original § 2255 motion, petitioner also alleges

 that his conviction for conspiracy to commit money laundering should be set aside in light

 of the Supreme Court's recent decision in United States v. Santos, 128 S.Ct. 2020 (2008).




 III.   Discussion



                       A. Indictment, Plea Agreement, and Guilty Plea


        Petitioner alleges that the indictment against him was defective. He specifically

 alleges that Count Two, which charged him with conspiracy to commit money laundering

 in violation of 18 U.S.C. § 1956(h), was defective because it did not charge an offense.

 Petitioner argues that Count Two did not refer to a particular financial transaction, but rather

 referred to several unspecified financial transactions, and thus did not track the statutory

 language. This claim lacks merit. See United States v. Robertson, 67 Fed.Appx. 257 (6th

 Cir. 2003).

                [Defendant] correctly identifies authority for the proposition that the
        crime of substantive money laundering is not a continuing offense, and that in
        such cases the government must allege and prove specific, discrete financial
        transactions. Nevertheless, [defendant] cites no authority for the proposition
        that the crime of conspiracy to launder money, under 18 U.S.C. § 1956(h), is
        not a continuing offense, nor are we aware of any. We conclude that this
        challenge fails.

 Id. at 269 (citations omitted) (emphasis in original).



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          With respect to Count One, which charged petitioner with the drug conspiracy, he

 alleges that count was also defective because it charged a continuing offense involving

 multiple violations of 21 U.S.C. §§ 841(a) & (b). Again, this claim also lacks merit.

 Petitioner was charged with conspiracy to violate §§ 841(a) & (b), in violation of 21 U.S.C.

 § 846. As noted in Robertson, conspiracy is a continuing offense and petitioner was

 correctly charged with conspiracy to distribute drugs, rather than being charged with

 individual drug transactions. See United States v. Martinez, 430 F.3d 317, 330-31 (6th Cir.

 2005).

          Petitioner alleges his plea agreement was void because it provided that he waived his

 right to appeal; petitioner also claims his agreement to waive his right to appeal was not

 intelligently made. Along those same lines, petitioner alleges the district court conducted an

 inadequate Rule 11 hearing and failed to inform petitioner of the nature of the charges against

 him, the elements of the offense which the government would be required to prove, the

 consequences of pleading guilty, and the rights petitioner was relinquishing by pleading

 guilty. Petitioner also claims the court failed to determine a factual basis for the plea and he

 further claims he was denied due process and the right to a jury trial because the amount of

 drugs for which he would be held responsible was not determined by a jury.

          In accepting petitioner's guilty plea, the court fully complied with the plea colloquy

 procedure as mandated by Rule 11 of the Federal Rules of Criminal Procedure. [Criminal

 Action No. 3:04-cr-130, Court File No. 90, Transcript of Guilty Plea]. The court first

 determined that petitioner understood the nature of the charges against him and the elements

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 of the offenses charged that the government would be required to prove beyond a reasonable

 doubt. [Id. at 6]. The court then advised petitioner of the rights he was waiving by pleading

 guilty. [Id. at 7-9]. Upon questioning by the court, petitioner denied that he had been

 promised a lighter sentence in return for pleading guilty. [Id. at 9]. At the court's request,

 the prosecutor read into the record the Stipulation of Facts, which had been signed by

 petitioner and attached to his plea agreement, and then summarized the government's

 evidence against petitioner. [Id. at 9-21]. Petitioner affirmed that he had signed the

 Stipulation of Facts and that he was pleading guilty because he was in fact guilty. [Id. at 21].

        Petitioner was advised of the minimum and maximum sentence he was facing,

 including a minimum mandatory term of life imprisonment. [Id. at 22]. The court then

 advised petitioner that his sentence would be determined by the court in conformity with the

 Sentencing Guidelines. [Id. at 24].

        The Court of Appeals for the Sixth Circuit has held that a defendant's sentence will

 not be vacated on the ground that the plea of guilty was coerced where the defendant was

 "carefully interrogated by the trial judge with respect to the offenses committed," where the

 defendant was represented by "competent counsel," and where the defendant "discussed the

 offenses freely and voluntarily and freely admitted guilt, while fully aware of [his] rights."

 United States v. Parker, 292 F.2d 2,3 (6th Cir. 1961).

        In addition, it is well-settled that where a court scrupulously follows the requirements

 of Fed. R. Crim. P. 11, "'the defendant is bound by his statements in response to that court's

 inquiry."' Baker v. United States, 781 F.2d 85, 90 (6th Cir. 1986) (quoting Moore v. Estelle,

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 526 F.2d 690, 696-97 (5th Cir. 1976)). See also Warner v. United States, 975 F.2d 1207 (6th

 Cir. 1992) (defendant's "decision to lie to the district court cannot amount to prejudice").

        Based upon the record, it is clear that petitioner's guilty plea was voluntarily and

 intelligently made. Petitioner's claims that the Rule 11 hearing was inadequate and that the

 court failed to determine a factual basis for the plea lack merit. The fact that petitioner

 waived his right to appeal did not render his plea agreement unconstitutional. See United

 States v. Ashe, 47 F.3d 770, 775-76 (6th Cir. 1995) ("Any right, even a constitutional right,

 may be surrendered in a plea agreement if that waiver was made knowingly and

 voluntarily.").

        Similarly, by pleading guilty, petitioner waived his right to have a jury determine the

 drug quantity for which he would be held responsible. In the Stipulation of Facts in support

 of his guilty plea, petitioner stipulated "that for purposes of sentencing, the amount of

 cocaine hydrochloride for which defendant is accountable, for sentencing guideline purposes,

 is greater than 15 (fifteen) and less than 50 (fifty) kilograms." [Criminal Action No. 3:04-cr-

 130, Court File No. 60, Stipulation of Facts, p. 2]. See, e.g., United States v. Calloway, 89

 Fed.Appx. 982, 984-85 (6th Cir. 2004) (defendant who stipulated to quantity of drugs in

 guilty plea waived the right to have a jury determine guilt beyond a reasonable doubt on that

 element of the offense).




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                                    B. Assistance of Counsel


        In Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme Court

 established a two-part standard for evaluating claims of ineffective assistance of counsel:

        First, the defendant must show that counsel's performance was deficient. This
        requires showing that counsel made errors so serious that counsel was not
        functioning as the "counsel" guaranteed the defendant by the Sixth
        Amendment. Second, the defendant must show that the deficient performance
        prejudiced the defense. This requires showing that counsel's errors were so
        serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

 Id. at 687.

        To establish that his attorney was not performing "within the range of competence

 demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

 petitioner must demonstrate that the attorney's representation "fell below an objective

 standard of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an

 attorney's conduct, a court should consider all the circumstances and facts of the particular

 case. Id. at 690. Additionally, "a court must indulge a strong presumption that counsel's

 conduct falls within the wide range of reasonable professional assistance; that is, the

 defendant must overcome the presumption that, under the circumstances, the challenged

 action 'might be considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana,

 350 U.S. 91, 101 (1955)).

        The issue is whether counsel's performance "was so manifestly ineffective that defeat

 was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

 229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, petitioner bears the

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 burden of proving by a preponderance of the evidence that his counsel was deficient. See

 Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

        Petitioner first alleges his attorney failed to object to the government's breach of the

 plea agreement. Petitioner argues that the government agreed to move for a downward

 departure based upon substantial assistance and that the government's failure to do so

 constituted a breach of the plea agreement. In his plea agreement, however, petitioner

 acknowledged that "[t]he decision of whether or not to file a motion for downward departure

 lies within the sole discretion of the United States." [Criminal Action No. 3:04-cr-130, Court

 File No. 59, p. 6, ¶ 10].

        During the sentencing hearing, the government advised the court that it could not at

 that time move for downward departure, but was hopeful that a motion for downward

 departure would be filed in the future. [Id., Court File No. 89, Transcript of Sentencing

 Hearing, p. 7]. That decision being within the government's sole discretion, any objection

 by defense counsel would have been futile and thus petitioner's claim of ineffective

 assistance of counsel in this regard lacks merit. See United States v. Hanley, 906 F.2d 1116,

 1121 (6th Cir. 1990) (the failure of defense counsel to pursue frivolous motions and

 objections cannot constitute ineffective assistance of counsel).

        Petitioner next alleges his attorney failed to object to the court's misconception that

 it could not depart downward. According to petitioner, his criminal history over-represented

 his prior crimes and he should not have been sentenced as a career criminal. Petitioner,

 however, was subject to a statutory mandatory minimum sentence pursuant to 21 U.S.C. §

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 841(b)(1)(A) and the court, absent a motion for downward departure by the government,

 lacked discretion to depart from the statutory sentence. Accordingly, the failure of

 petitioner's attorney to object in this regard fails to state a claim of ineffective assistance of

 counsel.

        Petitioner next alleges his attorney rendered ineffective assistance of counsel by

 failing to move to withdraw the guilty plea after the court conducted an inadequate Rule 11

 hearing. As noted previously in this opinion, the court fully complied with the requirements

 of Rule 11 and thus this allegation of ineffective assistance of counsel lacks merit.

        Petitioner next alleges his attorney allowed him to be sentenced in violation of

 Apprendi v. New Jersey, 530 U.S. 466 (2000), and failed to object to the presentence report

 with respect to the amount of drugs. Again, however, petitioner stipulated to the amount of

 drugs for which he would be held accountable and thus there was no Apprendi violation to

 which counsel should have objected nor was there any reason for counsel to object to the

 presentence report in that regard. These claims fail to state a claim of ineffective assistance

 of counsel.

        Petitioner next alleges that his attorney failed to consult with him about an appeal.

 The Sixth Circuit has held that "failure to perfect a direct appeal, in derogation of a

 defendant's actual request, is a per se violation of the Sixth Amendment." Ludwig v. United

 States, 162 F.3d 456, 459 (6th Cir. 1998). The Sixth Circuit emphasized, however, "that a

 defendant's actual 'request' is still a critical element in the Sixth Amendment Analysis. The

 Constitution does not require lawyers to advise their clients of the right to appeal." Id. See

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also Regalado v. United States, 334 F.3d 520, 524-526 (6th Cir. 2003) (failure to file an

appeal is not ineffective assistance of counsel where attorney was not specifically instructed

to do so).

       Petitioner was represented by appointed counsel Russell T. Greene. In support of its

response to the § 2255 motion, the government has submitted the affidavit of Mr. Russell.

Mr. Russell testifies, in relevant part, as follows:

       4.     It is my practice to discuss filing an appeal and a Defendant's rights to
              file such an appeal with my client well before the sentencing date. I
              discussed with Adrian R. Brown his right to file an appeal during these
              conferences. The judge, likewise, discussed his right to appeal.

       5.     I recall discussing Adrian R. Brown's right of appeal. While explaining
              the plea agreement and the fact that he had two appeal routes,
              ineffective assistance of counsel and prosecutorial misconduct.

       6.     I never received any phone calls from Adrian R. Brown following his
              sentencing hearing regarding an appeal nor any letters regarding an
              appeal. In fact we were waiting to hear from the agents and the U.S.
              Attorney's office about a Rule 30 hearing that never happened.

[Court File No. 7, Affidavit of Russell T. Greene, p. 1].

       Petitioner does not claim to have instructed Mr. Greene to file an appeal, but only that

Mr. Greene failed to consult with petitioner about an appeal. Mr. Greene testifies, however,

that he in fact discussed an appeal with petitioner. The court finds Mr. Greene's testimony

to be the more credible on this issue; petitioner has not stated a claim of ineffective

assistance of counsel in this regard. See Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000).




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       Finally, petitioner alleges his attorney failed to adequately brief the motion to suppress

and failed to file a motion to dismiss the indictment. As noted earlier, the indictment was not

defective and thus not subject to dismissal.

       With respect to the motion to suppress, the court found no constitutional error in the

search of petitioner's vehicle. Petitioner has failed to demonstrate that, but for counsel's

alleged inadequate briefing, the outcome of the suppression hearing would have been

different.

       In an amendment to his § 2255 motion, petitioner also alleges counsel was ineffective

for failing to object to the use of his prior state convictions, which petitioner claims were

invalid. This claim lacks merit. In Custis v. United States, 511 U.S. 485 (1994), the

Supreme Court held that a defendant cannot collaterally attack the validity of previous state

convictions that are used to enhance his sentence "with the sole exception of convictions

obtained in violation of the right to counsel." Id. at 487. Petitioner was represented by

counsel during his prior convictions and any objection to the validity of those prior

convictions would have been futile.

       Based upon the foregoing, petitioner has failed to demonstrate ineffective assistance

of counsel under the Strickland standard.




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                             C. Money Laundering and Santos


       Petitioner alleges his conviction for conspiracy to commit money laundering should

be set aside in light of the recent decision in United States v. Santos, 128 S.Ct. 2020 (2008),

in which the Supreme Court held that, under the money laundering statute, the term

"proceeds" means profits from criminal activities, and not merely receipts. Id. at 2025. The

Supreme Court, however, has not held that Santos should be applied retroactively.

Accordingly, Santos cannot afford petitioner any relief. In any event, petitioner's 240-month

sentence on the money laundering conspiracy was ordered concurrent to his life sentence on

the drug conspiracy and any alleged error as to the money laundering conspiracy is

immaterial.




IV.    Conclusion


       Petitioner is not entitled to relief under § 2255 and his motion to vacate, set aside or

correct sentence will be DENIED. This action will be DISMISSED. All other pending

motions will be DENIED as MOOT. In addition to the above, this court CERTIFIES that

any appeal from this action would not be taken in good faith and would be totally frivolous.

Therefore, this court will DENY petitioner leave to proceed in forma pauperis on appeal.

See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make

a substantial showing of the denial of a constitutional right, a certificate of appealability


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SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

Procedure.


      AN APPROPRIATE ORDER WILL ENTER.


                                                  s/ Leon Jordan
                                            United States District Judge




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